                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

PATRICK ROMANO, et al.,                       )
                                              )
                                              )
                       Plaintiffs,            )
                                              )
v.                                            )       Case No. 2:23-CV-04043-BCW
                                              )
TORCH ELECTRONICS, LLC, et al.,               )
                                              )
                                              )
                       Defendants.            )



                                             ORDER

        Before the Court are Plaintiffs’ motion for reconsideration (Doc. #78) and motion for

extension of time (Doc. #80). The Court, being duly advised of the premises, grants Plaintiffs’

motion for reconsideration (Doc. #78) but denies as moot the motion for extension of time (Doc.

#80).

        On August 21, 2023, the Court entered an Order granting Defendants’ motions dismiss

Count I and declining to exercise supplemental jurisdiction over Counts II and III. (Doc. #76). The

Court also entered a Clerk’s Judgment. (Doc. #77). On August 28, 2023, Plaintiffs filed a motion

for reconsideration arguing the Court has original jurisdiction over Counts II and III of the

complaint under the Class Action Fairness Act (“CAFA”), 28 U.S.C.A. § 1332(d). Plaintiffs

therefore request that the above-captioned matter be returned to active status. Defendants did not

file an opposition. Accordingly, consistent with Plaintiffs’ argument regarding the Court’s original

jurisdiction under CAFA over Counts II and III, Plaintiffs’ motion for reconsideration (Doc. #78)

is granted and the Clerk’s Judgment (Doc. #77) is vacated. However, consistent with the Court’s

Order on Defendants’ motions to dismiss (Doc. #76), Count I of the complaint remains dismissed.

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        On September 14, 2023, Plaintiffs filed a motion for extension of time to file a notice of

appeal. (Doc. #80). Plaintiffs note the extension may be moot pursuant to the Court’s forthcoming

Order regarding their motion for reconsideration. Therefore, having granted Plaintiffs’ motion for

reconsideration, the Court denies as moot Plaintiffs’ motion for extension of time (Doc. #80).

Accordingly, it is hereby

        ORDERED Plaintiffs’ motion for reconsideration (Doc. #76) is GRANTED as to Counts

II and III of the complaint. It is further

        ORDERED the Clerk’s Judgment (Doc. #77) is VACATED. It is further

        ORDERED consistent with the Court’s Order regarding Defendants’ motions to dismiss

(Doc. #76) Count I of the complaint remains dismissed. It is further

        ORDERED Plaintiffs’ motion for extension of time (Doc. #80) is DENIED AS MOOT. It

is further

        ORDERED the Clerk of the Court is directed to re-open the above-captioned matter.

        IT IS SO ORDERED.

DATED: September 18, 2023
                                             /s/ Brian C. Wimes
                                             JUDGE BRIAN C. WIMES
                                             UNITED STATES DISTRICT COURT




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